






Opinion issued August 15, 2002 










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00710-CR

____________


ARTILIOUS CARTER, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 248th District Court

Harris County, Texas

Trial Court Cause No. 878603






MEMORANDUM  OPINION

	Appellant filed a motion to dismiss the appeal.  The motion is in writing,
signed by appellant.  We have not yet issued a decision.  Accordingly, the appeal is
dismissed.  Tex. R. App. P. 42.2(a).

	The clerk of this Court is directed to issue mandate immediately.  Tex. R. App.
P. 18.1.

PER CURIAM

Panel consists of Chief Justice Schneider, and Justices Nuchia and Radack.

Do not publish.  Tex. R. App. P. 47.


